               Case 3:21-cr-00274-CRB Document 35 Filed 12/10/21 Page 1 of 3



 1   COLIN L. COOPER, SBN 144291
     KELLIN R. COOPER, SBN 172111
 2   THE COOPER LAW OFFICES
     800 Jones Street
 3   Berkeley, CA 94710
     Telephone (510) 558-8400
 4   Facsimile (510) 558-8401
     www.cooperdefense.com
 5
     Attorneys for Defendant
 6   IAN BENJAMIN ROGERS
 7                                UNITED STATES DISTRICT COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN FRANCISCO DIVISION
10   UNITED STATES OF AMERICA,                       )    Case No. 21-CR-00274-CRB
                                                     )
11                  Plaintiff,                       )    JOINT STIPULATION AND [PROPOSED]
                                                     )    ORDER TO CONTINUE STATUS
12          vs.                                      )    CONFERENCE TO FEBRUARY 2, 2022
                                                     )
13   IAN BENJAMIN ROGERS and                         )
     JARROD COPELAND,                                )
14                                                   )
                    Defendants.                      )
15                                                   )
16

17          On July 8, 2021, the grand jury issued a six-count indictment charging IAN ROGERS

18   and JARROD COPELAND with conspiring to destroy a building by arson or explosive devices,

19   weapons violations and obstruction of justice. Mr. ROGERS has been (and remains) in custody

20   in Napa County facing weapons charges since January, 2021. The parties made their first
21   appearance in District Court on August 18, 2021. Mr. ROGERS appeared pursuant to a writ
22
     issued February 18, 2021. At that time, the parties agreed to continue the matter for a status
23
     conference to October 27, 2021. On October 27, 2021, the parties agreed to continue the matter
24
     for another status conference to December 14, 2021. Since then, the government has provided
25
     additional discovery. In addition, Mr. ROGERS’ attorney, Colin Cooper, has been assigned out

                                                      1
               Case 3:21-cr-00274-CRB Document 35 Filed 12/10/21 Page 2 of 3



 1   and is in trial in a homicide case in state court in Contra Costa County. The trial is expected to
 2   last until the end of January, 2022.
 3
            The parties hereby request that the Court continue the status conference from December
 4
     14, 2021 to February 2, 2022 at 10:00 a.m. The continuance will allow the government the time
 5
     needed to produce additional discovery and enable all parties to be in a better position to discuss
 6
     both the pending charges and potential resolution. A continuance will also allow the government
 7
     time to conduct a reverse proffer with defense counsel and defendants (scheduled for January 12,
 8
     2022). This reverse proffer will also enable all parties to be in a better position to discuss both
 9

10
     the pending charges and potential resolution.

11          For these reasons, and to allow for the effective preparation of counsel, the parties agree

12   that the ends of justice served by excluding the time from December 14, 2021 through February

13   2, 2022 from computation under the Speedy Trial Act outweigh the best interests of the public
14   and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) AND (h)(7)(B)(iv).
15
     IT IS SO STIPULATED.
16
                                                     Respectfully submitted,
17
                                                     THE COOPER LAW OFFICES
18
     Dated: December 8, 2021                         ____________/s/_______________
19                                                   COLIN COOPER
                                                     Attorney for IAN ROGERS
20

21
     Dated: December 8, 2021                         ____________/s/_______________
                                                     FRANK RIEBLI
22
                                                     ASSISTANT UNITED STATES ATTORNEY
23

24   Dated: December 8, 2021                         ____________/s/_______________
                                                     JOHN AMBROSIO
25                                                   Attorney for JARROD COPELAND


                                                        2
              Case 3:21-cr-00274-CRB Document 35 Filed 12/10/21 Page 3 of 3



 1                                UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
 4   UNITED STATES OF AMERICA,                       ) Case No. 21-CR-00274-CRB
                                                     )
 5                  Plaintiff,                       )
                                                     ) [PROPOSED] ORDER
 6
            vs.                                      )
                                                     )
 7   IAN BENJAMIN ROGERS and                         )
     JARROD COPELAND,                                )
 8
                                                     )
                    Defendants.                      )
 9
                                                     )
10

11          For the reasons set forth above, the Court hereby continues the status conference in the

12   above-captioned matter from December 14, 2021 until February 2, 2022 at 10:00 a.m. Further, to

13   allow for the continued production of discovery and the effective preparation of counsel, the
14   Court finds that the ends of justice served by granting the continuance outweigh the interests of
15
     the public and the defendants, and thus the Court excludes that period of time from the running
16
     of the speedy trial clock under Rule 5.1 and 18. U.S.C. § 3161(b). The Court further orders that,
17
     to the extent that IAN ROGERS remains in state custody, the U.S. Marshal and the Director of
18
     Corrections of the Napa County Department of Corrections shall produce Ian Rogers for the
19
     hearing on February 2, 2022, as provided in the writ issued on February 18, 2021 in this matter.
20
     IT IS SO ORDERED.
21

22

23   DATED: ___________________                           ________________________________
                                                          HON. CHARLES R. BREYER
24                                                        UNITED STATES DISTRICT COURT

25


                                                     3
